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IN THE UNITED STATES DISTRICT COURT 5 v
FOR THE WESTERN DISTRICT OF TENNESSEI=o HAY lg*$_PH\_ 23 25
EASTERN DIVISION gm "
voUH R[]TR
W§£RKF US DB{%#Q
UNITED STATES OF AMERICA WJM}SON
upon the relation and for
the use of the
TENNESSEE VALLEY AUTHORITY

Plaintiff,
vs. Civil Action No. 1:04-1327-T/An

AN EASEMENT AND RIGHT-OF-WAY
OVER 0.45 ACRE OF LAND, MORE OR
LESS, IN HARDIN COUNTY, TENNESSEE

WAYNE PLUNKETT

LEON EASLEY

HARDIN COUNTY BANK OF SAVANNAH,
TENNESSEE

EDDIE K. WHITLOW, TruStee

Defendants.

 

ORDER SETTING CASE FOR TRIAL

 

This is to notify you that this case is set for NON-JURY TRIAL
on WEDNESDAY, APRIL 26. 2006. at 9:§0 a.m. in the Federal
Courtroom, Room 432 Fourth Floor, U. S. Courthouse, in Jackson, TN.

A joint pre-trial order must be submitted to the court by MONDAYl
APRIL 17c 2006. All discovery must be completed before that date.

Counsel, and any party proceeding p;Q §e, MUST confer and
attempt to prepare a joint pre-trial order which covers the items
set forth below. If a joint pre-trial order cannot be agreed upon,
the attorneys must notify the court at least 10 days prior to trial
that a pre-trial conference may be necessary. In addition to
notifying the court, the attorney' for each party or a party
proceeding pro se must submit a draft of a pre-trial order that
considers the following matters:

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1. any jurisdictional questions, and the proper ruling
thereon;

2. any questions raised by pending motions, and the
proper ruling thereon;

3. the respective contentions of the parties, including
the contentions of the parties with regard to the nature
and amounts of damages;

4. specific facts that may be stipulated (possible
sources of these agreed facts are the pleadings,
discovery, or admission of counsel);

5. Contested issues of fact;

6. contested issues of law;

7. exhibits (except documents for impeachment only) to
be offered in evidence by the parties, and to the extent
possible, a stipulation as to admissibility;

8. witnesses for the parties - indicate those who will
be called in the absence of reasonable notice to opposing
counsel to the contrary and those who may be called as a
possibility only.

Counsel, and any party proceeding prg_s§, are also directed to
confer and exchange information as to the ultimate issues of law
and fact, eliminating unnecessary or irrelevant issues that may
appear in the pleadings or discovery, offered in evidence at the
trial.

In the event a pre-trial conference is necessary those who
will try the case will be generally familiar with pre-trial
procedures and come to a pre-trial conference with full authority
to accomplish the purpose of the conference, which is to simplify
and define the triable issues, expedite the trial, and save
expense. At the time of the conference, counsel and any party
proceeding prp _§g_ will report to the court the prospects of
settlement as well as estimates of the length of time it will take
to try the case. For a discussion of pre-trial conferences and a
modified form for a pre-trial order, §gg Hon. A. Sherman
Christenson, When ls A Pre-Trial Conference A "Pre-Trial
Conferenoe"?l 23 F.R.D. 129 (1958) (paper presented before Pre-
Trial Committee of the Tenth Circuit); see also Fed. R. Civ. P. 16.

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IF AN ATTORNEY OR A PARTY PROCEEDING 239 §§ FAILS TO APPEAR AT THE
PRE-TRIAL CONFERENCE OR FAILS TO COMPLY WITH THE DIRECTIONS SET
FORTH HEREIN, AN EX PARTE HEARING MAY BE HELD AND/OR JUDGMENT OF
DISMISSAL OR DEFAULT OR OTHER APPROPRIATE JUDGMENT ENTERED.

IT IS SO ORDERED.
ENTERED AS DIRECTED,
ROBERT R. DI TROLIO, CLERK

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Deputy Clerk

DATE= 5/[Cl/OS

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 1:04-CV-01327 Was distributed by faX, mail, or direct printing on
May ]9, 2005 to the parties listed.

ESSEE

 

Bradford D. BOX

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EdWin W. Small

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Honorable J ames Todd
US DISTRICT COURT

